          Case 2:07-cr-00248-WBS Document 1245 Filed 08/01/13 Page 1 of 1


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 6

 7                         UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                        ) Case No.: Cr.07-248-01 WBS
10   UNITED STATES OF AMERICA,          )
                                        )
11               Plaintiff,             ) APPLICATION AND [PROPOSED]
                                        ) ORDER TO CONTINUE SENTENCING TO
12       vs.                            ) OCTOBER 7, 2013
                                        )
13   MARIO DIAZ, JR.,                   )
                                        ) Hon. William B. Shubb
14               Defendant.             )
                                        )
15

16
         This matter is before the Court on August 5, 2013 at 9:30
17

18   a.m., for sentencing.      Counsel for the defense is requesting a

19   continuance to October 7, 2013, at 9:30 a.m. to prepare for
20
     sentencing.    Government counsel, Jason Hitt, and United States
21
     Probation Officer Dayna Ward are not opposing this request.
22
         Good cause appearing,
23
         IT IS ORDERED that this matter is to be continued from
24

25   August 5, 2013, at 9:30 a.m., to October 7, 2013, at 9:30 a.m.

26   for Judgment and Sentencing.
27   Dated:    August 1, 2013
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